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   5
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   6
   7
   8                                     UNTED STATES DISTRICT COURT
   9                                   CENTRAL DISTRICT OF CALIFORNIA
  10
  11    TODD CAMllnlONATHAN SEGAL, ) Case No. CV 07 03741
        TODD M. CAiVlt1E PRODUCTIONS, )
   12   INC., TEMPEST RIDGE )                                                 ANSWER TO FIRST AMENDED
                                                                              COMPLAINT
        ENTERTAIEN'L INC. f/ka KICK )
   13   IT! ENTERTAIN.INT, INC. )
                                                                      )       DEMAND FOR JUY TRIAL
   14                      Plaintiff,                                 )
                                                                      )
   15            vs.                                                  )
                                                                      )
   16   DREAMWORKS, LLC                                               )
                                                                      )
   17                      Defendant.                                 )
                                                                      )
   18
   19            Defendant DREAMWORKS LLC ("DreamWorks") hereby answers the First
   20   Amended Complaint filed by Plaintiffs TODD CAMHE, JONATHAN SEGAL,
   21   TODD M. CAMHE PRODUCTIONS, INC., and TEMPEST RIDGE
   22   ENTERTAINMENT, INC. f/ka KICK IT! ENTERTAIENT, INC. (collectively,
   23   "Plaintiffs") as follows:
   24
   25                           ANSWER TO INTRODUCTORY ALLEGATIONS
   26             1. Referrng to paragraph 1, Dream Works lacks information and belief

   27   sufficient to enable it to answer the allegations of ths paragraph pertaining to
   28
                                                                          i
                                                         ANSWER TO FIRST AMENDED COMPLAIT
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                1 Plaintiffs, the development of                           their television treatment and screenplay, and the claims
                2 in this lawsuit, and, on that basis, denies these allegations.
                3 2. Referrg to paragraph 2, Dream Works admits that in or about August

                4 2000, Justin Falvey met with Plaintiffs, that Plaintiffs discussed with Falvey durng
                5 the August 2000 meeting a proposed television series about Hollywood private
                6 investigators, and that, based upon informtion and belief, some wrting sample may
                7 have been provided to Falvey by Plaintiffs or their representative(s) prior to the
                8 August 2000 meeting. Except as so expressly admitted, Dream Works denies the
                9 allegations of paragraph 2.

               10 3. Referrng to paragraph 3, DreamWorks admits and alleges that in the

               11 Summer/Fall of                    2002, DreamWorks began developing for NBC Studios a television
               12 series set in Las Vegas created by Gary Scott Thompson, that the television series Las

     !. \ 13 Vegas originally was produced by NBC Studios and Dream Works Television, that the
     JJ õ 00


s: i~ l í! 14 series most recently was produced by Universal Media Studios and Dream Works
CD ~:i II
~! l U 15 Television and that the series regularly has been described as a "fast-paced, sexy
~! f~ ~
               16 drama (that) follows the elite Las Vegas surveillance team charged with maintaining
               17 the security of one of Sin City's largest resorts and casinos." Except as so expressly
               18 admitted and alleged, DreamWorks denies the allegations of
                                                                                                                  paragraph 3.

               19 4. Referrng to paragraph 4, Dream Works denies the allegations thereof.

               20 5. Referrng to paragraph 5, DreamWorks denies the allegations thereof.

               21
               22                       ANSWER TO JUSDICTION AN VENUE ALLEGATIONS
               23                  6. Referrng to paragraph 6, DreamWorks admits that Plaintiffs purort to
               24       assert a claim for copyrght infrngement that would arse under 17 U.S.C. § 1 et seq.
               25       and certain claims purortedly arsing under state law. Except as so expressly
               26       admitted, DreamWorks denies the allegations of                                paragraph 6.

               27                  7. Referrg to paragraph 7, Dream Works admits the allegations thereof.

               28                  8. Referrng to paragraph 8, DreamWorks admts the allegations thereof.
                                                                                              2
                                                                               ANSWER TO FIST AMENDED COMPLAINT
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               1                                            ANSWER TO PARTY ALLEGATIONS
               2 9. Referrg to paragraph 9, Dream Works lacks information and belief

               3 sufficient to enable it to answer the allegations of ths paragraph and, on that basis,

               4 denies the allegations thereof.

               5 10. Referrng to paragraph 10, DreamWorks lacks informtion and belief

               6 sufficient to enable it to answer the allegations of                                ths paragraph and, o~ that basis,

               7 denies the allegations thereof.

               8 1 1. Referrng to paragraph 11, Dream Works lacks information and belief

               9 sufficient to enable it to answer the allegations of this paragraph and, on that basis,

             10 denies the allegations thereof.
             11 12. Referrng to paragraph 12, DreamWorks lacks informtion and belief

             12 sufficient to enable it to answer the allegations of this paragraph and, on that basis,
       ! i 13 denies the allegations thereof.
       ~. ~i

¡ i lI; 14 13. Referrng to paragraph 13, DreamWorks lacks informtion and belief
~! tU 15 sufficient to enable it to answer the allegations of
                                                                                                     this paragraph and, on that basis,
~! §H
              16 denies the allegations thereof.
              17 14. Referrng to paragraph 14, DreamWorks lacks information and belief

              18 sufficient to enable it to answer the allegations of this                                 paragraph and, on that basis,

              19 denies the allegations thereof.
             20 15. Referrng to paragraph 15, DreamWorks admits and alleges that it is a

             21 motion pictue and television studio that, among other things, develops, produces and
             22 distributes motion pictues and television programs. Dream Works further admts that
             23 it is a Delaware corporation. Except as so expressly admitted and alleged,
             24 DreamWorks denies the allegations of                                   paragraph 15.

             25 16. Referrng to paragraph 16, Dream Works admts and alleges that in or

             26 about August 2002, NBC and Dream Works Television publicly                                           anounced that they
             27 had entered into a two-year primetime series development "parership" to develop
             28 new comedy and reality series, pursuant to which NBC was entitled to a "first look" at
                                                                                            3
                                                                             ANSWER TO FIRST AMENDED COMPLAINT
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               1 all futue propertes developed by the ventue, and pursuant to which NBC agreed to

              2 provide financing for the programs in retu for a majority ownership stae. Except

               3 as so expressly admitted and alleged, Dream Works denies the allegations of paragraph

              4 16.
               5 17. Referrng to paragraph 17, Dream Works denies the allegations thereof.

               6 18. Referrng to paragraph 18, Dream Works admts and alleges that in or

               7 about December 2005, Viacom Inc. acquired Dream Works for approximately $1.6
               8 billon in cash and the assumption of debt. Except as so expressly admitted and

               9 alleged, DreamWorks denies the allegations of
                                                                                           paragraph 18.

              10
              11 ANSWER TO GENERA BACKGROUND ALLEGATIONS
              12 19. Referrng to paragraph 19, Dream Works lacks informtion and belief
    t i 13 sufficient to enable it to answer the allegations of this paragraph and, on that basis,
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s:
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CD   !;jll
        í ~ 14 denies the allegations thereof.
:l l l íl 15 20. Referrng to paragraph 20, Dream Works lacks information and belief
:i l iH
              16 sufficient to enable it to answer the allegations of ths paragraph and, on that basis,
              17 denies the allegations thereof.
              18 21. Referrng to paragraph 21, Dream Works lacks information and belief

              19 sufficient to enable it to answer the allegations of this paragraph and, on that basis,
              20 denies the allegations thereof.
              21 22. Referrng to paragraph 22, Dream Works lacks information and belief

              22 suffcient to enable it to answer the allegations of
                                                                                               ths paragraph and, on that basis,

              23 denies the allegations thereof.
              24 23. Referrng to paragraph 23, DreamWorks lacks information and belief

              25 sufficient to enable it to answer the allegations of this paragraph and, on that basis,
              26 denies the allegations thereof.
              27
              28
                                                                                       4
                                                                        ANSWER TO FIRST AMENDED COMPLAIN
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         1 24. Referrng to paragraph 24, Dream Works lacks information and belief

         2 suffcient to enable it to answer the allegations of this paragraph and, on that basis,

         3 denies the allegations thereof.

         4 25. Referrg to paragraph 25, DreamWorks lacks informtion and belief

         5 suffcient to enable it to answer the allegations of ths paragraph and, on that basis,

         6 denies the allegations thereof.

         7 26. Referrng to paragraph 26, DreamWorks lacks informtion and belief

         8 sufficient to enable it to answer the allegations of this paragraph and, on that basis,

         9 denies the allegations thereof.

        10 27. Referrng to paragraph 27, Dream Works admts and alleges that Justin

        11 Falvey ("Falvey") serves as co-head of                             Dream        Works Television, that he was named to
        12 this position in Januar 2002, and that in this capacity, he oversees all series

  ~ ;¡ ~i .
   ! i 13 development and longform programng for the studio. Dream Works fuher admts

s: I II; 14 and alleges that Falvey joined DreamWorks in 1995 and served as a television

~ j Hl15 development and programming executive until 2002. Dream Works fuher admits and
~l B~
        16 alleges that Falvey has also served as an executive producer of Las Vegas for each of
        17 its five seasons. Except as so expressly admitted and alleged, Dream Works denies the

        18 allegations of paragraph 27.
        19 28. Referrng to paragraph 28, DreamWorks admts and alleges that Darrl

        20 Frank ("Fran") serves as co-head of                             Dream          Works Television and that he was named
        21 to this position in Januar 2002. DreamWorks fuher admts and alleges that Frank
        22 originally joined DreamWorks Television in 1995 as a development and programming

        23 executive. Except as so expressly admitted and alleged, DreamWorks denies the

        24 allegations of                paragraph 28.
        25 29. Referrng to paragraph 29, DreamWorks admits that in or about August

        26 2000, Larr Kennar ("Kennar") contacted Falvey in order to set up a meeting on
        27 behalf of Plaintiffs. Except as so expressly admtted, Dream Works denies the
        28 allegations of paragraph 29.
                                                                                      5
                                                                   ANSWER TO FIRST AMENDED COMPLAINT
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               1 30. Referrng to paragraph 30, DreamWorks admts and alleges that, as of

              2 August 2000, Falvey was famliar with Kennar and that prior thereto, Kennar probably
              3 had introduced other of                         his clients to Falvey. Except as so expressly admtted and
              4 alleged, DreamWorks denies the allegations of                                   paragraph 30.

              5 31. Referrng to paragraph 31, Dream Works denies the allegations thereof.

              6 32. Referrng to paragraph 32, DreamWorks admts and alleges, based upon

              7 information and belief, that some wrting sample may have been provided to Falvey

               8 by Plaintiffs and/or Kennar prior to the August 9,2000 meeting. Except as so

               9 expressly admtted, DreamWorks denies the allegations of                                        paragraph 32.

              10 33. Referrng to paragraph 33, DreamWorks admts that Falvey met with

              11 Plaintiffs on or about August 9,2000, that Plaintiffs discussed with Falvey at this
              12 meeting a proposed television series about Hollywood private investigators, and that
     . ..
     l t 13"
     ,! " "t
                     Falvey and Fran later.became executive producers of Las Vegas. Except as so
     ~ ~:
   ~ Hi 14            expressly admitted, DreamWorks denies the allegations of                                  paragraph 33.
¡ i .i:l~
  .5 e-.. g
~"g ¡Hi~15
fa j H~                          34. Referrng to paragraph 34, Dream Works admits that Plaintiffs discussed
~lí §H
              16      various topics durng the August 9, 2000 meeting. Except as so expressly admitted,
              17      DreamWorks denies the allegations of                            paragraph 34.

              18                 35. Referrng to paragraph 35, DreamWorks denies the allegations thereof.
              19                 36. Referrng to paragraph 36, DreamWorks denies the allegations thereof.
              20                 37. Referrng to paragraph 37, Dream Works denies the allegations thereof.
              21                 38. Referrng to paragraph 38, DreamWorks denies the allegations thereof.
              22                 39. Referrg to paragraph 39, DreamWorks denies the allegations thereof.
              23                 40. Referrng to paragraph 40, DreamWorks denies the allegations thereof.
              24                 41. Referrng to paragraph 41, Dream Works denies the allegations thereof.
              25                 42. Referrng to paragraph 42, DreamWorks denies the allegations thereof.
              26                 43. Referrg to paragraph 43, DreamWorks lacks information and belief

              27      sufficient to enable it to answer the allegations of ths paragraph and, on that basis,
              28      denies the allegations thereof.
                                                                                           6
                                                                            ANSWER TO FIRST AMENDED COMPLAINT
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             1 44. Referrng to paragraph 44, Dream Works lacks informtion and belief

             2 suffcient to enable it to answer the allegations of this paragraph and, on that basis,

             3 denies the allegations thereof.

             4 45. Referrng to paragraph 45, DreamWorks denies the allegations thereof.

             5 46. Referrng to                                      paragraph 46, Dream Works admits and alleges that in or
             6 about July 2002, Gar Scott Thompson ("Thompson") presented a number of

             7 potential television series ideas to Dream Works, that Dream Works informed
             8 Thompson of                       NBC's interest in developing a television series set in Las Vegas, and
             9 that Thompson is the credited creator of Las Vegas. Except as so expressly admitted
            10 and alleged, DreamWorks denies the allegations of                                        paragraph   46.
            11 47. Referrng to paragraph 47, Dream Works lacks informtion and belief

            12 sufficient to enable it to answer the allegations of ths paragraph and, on that basis,
     ~ i 13 denies the allegations thereof.
     ~5J

s: J~ l í! 14 48. Referrg to paragraph 48, Dream Works admits that on or about October
CD '; ,jl
~ i j i! 15 15, 2002, Thompson submitted to Dream Works a first draft television pilot
~l n¡
            16 screenplay, entitled Untitled Vegas Pilot. Except as so expressly admtted,
            17 Dream Works denies the allegations of paragraph 48.
            18 49. Referrng to paragraph 49, DreamWorks admts that the October 21,

            19 2002 issue of                     Varety        includes an aricle that contains the quotation set forth in
            20 paragraph 49 of the First Amended Complaint. Except as so expressly admitted,
            21 DreamWorks denies the allegations of                                     paragraph 49.

            22 50. Referrng to paragraph 50, DreamWorks admits that Falvey and Frank

            23 serve as two of                       the executive producers of Las Vegas.
            24 51. Referrng to paragraph 51, Dream Works admits and alleges that the

            25 television series Las Vegas originally was produced by NBC Studios and
            26 DreamWorks Television, and that it curently is produced by Universal Media Studios
            27 and DreamWorks Television. Except as so expressly admitted and alleged,
            28 Dream Works denies the allegations of paragraph 51.
                                                                                             7
                                                                              ANSWER TO FIRST AMENDED COMPLAINT
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             1 52. Referrng to paragraph 52, DreamWorks admts that the Las Vegas series

             2 premiered on September 22, 2003 on the NBC television network.
             3 53. Referrng to paragraph 53, DreamWorks admts that Plaintiffs received

             4 no credit or compensation from DreamWorks in connection with                                         Las Vegas. Except

             5 as so expressly admitted and alleged, Dream Works denies the allegations of paragraph

             6 53.
             7 54. Referrng to paragraph 54, DreamWorks admts and alleges that, in or

             8 about Februar 2007, NBC anounced that it had renewed Las Vegas for a fifth
             9 broadcast season. Except as so expressly admtted and alleged, Dream Works denies

            10 the allegations of                  paragraph 54.

            11 55. Referrng to paragraph 55, DreamWorks admts that Las Vegas is

            12 broadcast or telecast in numerous countres around the world. Except as so expressly
     ~ l13 admtted, DreamWorks denies the allegations of
                                                                                                    paragraph 55.
     ~ ~J

¡ i U! 14 56. Referrng to paragraph 56, Dream Works admts that Las Vegas curently
~ l j í! 15 is also telecast on Turner Network Television. Except as so expressly admitted,
~ j l:§ I
            16 . Dream Works denies the allegations of paragraph 56.
            17 57. Referrng to paragraph 57, DreamWorks denies the allegations thereof.

            18 58. Referrng to paragraph 58, DreamWorks lacks informtion and belief

            19 sufficient to enable it to answer the allegations of ths paragraph and, on that basis,
            20 denies the allegations thereof.
            21 59. Referrng to paragraph 59, DreamWorks denies the allegations thereof.

            22 60. Referrng to paragraph 60, DreamWorks denies the allegations thereof.

            23 61. Referrngto paragraph 61, DreamWorks denies the allegations thereof.

            24 62. Referrng to paragraph 62, DreamWorks denies the allegations thereof.

            25 63. Referrng to paragraph 63, DreamWorks denies the allegations thereof.

            26 64. Referrng to paragraph 64, DreamWorks denies the allegations thereof.

            27 65. Referrng to paragraph 65, Dream Works denies the allegations thereof.

            28 66. Referrg to paragraph 66, Dream Works denies the allegations thereof.
                                                                                             8
                                                                              ANSWER TO FIST AMENDED COMPLAINT
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              1                 67.        Referrng to paragraph 67, DreamWorks denies the allegations thereof.
              2                 68.        Referrng to paragraph 68, Dream Works denies the allegations thereof.
              3                 69.        Referrng to paragraph 69, Dream Works denies the allegations thereof.
              4                 70.        Referrng to paragraph 70, DreamWorks denies the allegations thereof.
              5                 71.        Referrng to paragraph 71, Dream Works denies the allegations thereof.
              6                 72.        Referrng to paragraph 72, Dream Works denies the allegations thereof.
              7                 73.        Referrng to paragraph 73, DreamWorks denies the allegations thereof.
              8                 74.        Referrng to paragraph 74, DreamWorks denies the allegations thereof.
              9                 75.        Referrng to paragraph 75, DreamWorks denies the allegations thereof.
             10                 76.        Referrng to paragraph 76, DreamWorks denies the allegations thereof.
             11                 77.        Referrng to        paragraph 77, Dream Works denies the allegations thereof.
             12                 78.        Referrng to paragraph 78, Dream Works denies the allegations thereof.
    g .! 13                                Referrng to paragraph 79, DreamWorks denies the allegations thereof.
    'l i-
    .~ . ;
                                79.

  ~ Hi 14                       80.        Referrng to paragraph 80, DreamWorks denies the allegations thereof.
~i
-" ~:lil
   /:"g
~I lH15                         81.         Referrng to paragraph 81, Dream Works denies the allegations thereof.
~l iÚ16                          82.        Referrng to paragraph 82, Dream Works denies the allegations thereof.
             17                  83.        Referrng to paragraph 83, DreamWorks denies the allegations thereof.
             18                  84.        Referrg to        paragraph 84, DreamWorks denies the allegations thereof.
             19                  85.        Referrng to paragraph 85, DreamWorks denies the allegations thereof.
             20                  86.        Referrng to paragraph 86, Dream Works denies the allegations thereof.
             21                  87.        Referrg to paragraph 87, Dream Works denies the allegations thereof.
             22                  88.        Referrng to paragraph 88, DreamWorks denies the allegations thereof.
             23                  89.        Referrng to paragraph 89, DreamWorks denies the allegations thereof.
             24
             25 ANSWER TO FIRST CAUSE OF ACTION
             26 (Copyright Infringement)
             27 90. Referrng to paragraph 90, DreamWorks incorporates by reference the

             28 admssions, denials and allegations of                            paragraphs 1 though 83, inclusive, of   this
                                                                                        9
                                                                        ANSWER TO FIRST AMENDED COMPLAINT
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               1 Answer as though set forth in full.
              2 91. Referrng to paragraph 91, Dream Works denies the allegations thereof.

              3 92. Referrng to paragraph 92, Dream Works lacks informtion and belief

              4 sufficient to enable it to answer the allegations of this paragraph and, on that basis,

              5 denies the allegations thereof.

              6 93. Referrng to paragraph 93, DreamWorks denies the allegations thereof.

              7 94. Referrng to paragraph 94, DreamWorks denies the allegations thereof.

              8 95. Referrng to paragraph 95, DreamWorks denies the allegations thereof.

              9 96. Referrng to paragraph 96, Dream Works denies the allegations thereof.

              10 97. Referrng to paragraph 97, nreamWorksdenies the allegations thereof.

              11 98. Referrng to paragraph 98, DreamWorks denies the allegations thereof.

              12 99. Referrng to paragraph 99, DreamWorks denies the allegations thereof.

     !. i 13 100. Referrng to paragraph 100, DreamWorks denies the allegations thereof.
     .i 6 .

CD
~ I~~jll
     ! i! 14 101. Referrng to paragraph 101, Dream Works denies the allegations thereof.
~ l l U 15 102. Referrng to paragraph 102, Dream Works denies the allegations thereof,
:i l f. ~
              16 and specifically denies that Plaintiffs, or any of them, have sustained any damages
              17 whatsoever as a direct or proximate result of any alleged act or omission by
              18 Dream Works.
              19 103. Referrng to paragraph 103, DreamWorks denies the allegations thereof,

              20 and specifically denies that Plaintiffs, or any of them, have sustained any damages
              21 whatsoever as a direct or proximate result of any alleged act or omission by
              22 Dream Works.

              23 104. Referrng to paragraph 104, DreamWorks denies that Plaintiffs, or any of
              24 them, are entitled to any of the relief requested in this paragraph.
              25
              26
              27
              28
                                                                                   10 .
                                                                     ANSWER TO FIRS AMENDED COMPLAINT
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              1 ANSWER TO SECOND CAUSE OF ACTION
              2 (Implied-In-Fact Contract)
              3 105. Referrng to paragraph 105, Dream Works incorporates by reference the

              4 admissions, denials and allegations of paragraphs 1 through 97, inclusive, of this
              5 Answer as though set forth in full.
              6 106. Referrng to paragraph 106, Dream Works denies the allegations thereof.

              7 107. Referrng to paragraph 107, Dream Works denies the allegations thereof.

              8 108. Referrng to paragraph 108, Dream Works denies the allegations thereof.

              9 . 109. Referrng to paragraph 109, Dream Works denies the allegations thereof.

              10 110. Referrng to paragraph 110, DreamWorks denies the allegations thereof.

              11 111. Referrng to paragraph 111, Dream Works denies the allegations thereof.

              12 112. Referrg to paragraph 112, DreamWorks denies the allegations thereof.

     !" ~ 13 113. Referrng to paragraph 113, DreamWorks denies the allegations thereof.
     .i ~l!

s: I~ ~ î~ 14 114. Referrng to paragraph 114, Dream Works denies the allegations thereof,
CD Il;jll
~ î l U 15 and specifically denies that Plaintiffs, or any of them, are entitled to recover any
~l h~
              16 amounts whatsoever from Dream Works.

              17 115. Referrng to paragraph 115, DreamWorks denies the allegations thereof,

              18 and specifically denies that Plaintiffs, or any of them, have sustained or are entitled to
              19 recover any damages whatsoever as a direct or proximate result of any alleged act or
              20 omission by Dream Works.

              21
              22                                 ANSWER TO TIDRD CAUSE OF ACTION
              23                                                    (Breach of Confidence)
              24             116. Referrng to paragraph 116, Dream Works incorporates by reference the
              25   admissions, denials and allegations of paragraphs 1 through 108, inclusive, of this
              26   Answer as though set forth in full.
              27             117. Referrng to paragraph 1 17, Dream Works denies the allegations thereof.
              28             118. Referrng to paragraph 118, Dream Works denies the allegations thereof.
                                                                                   11
                                                                    ANSWER TO FIRST AMENDED COMPLAINT
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             1 119. Referrng to paragraph 119, DreamWorks denies the allegations thereof.

             2 120. Referrng to paragraph 120, DreamWorks denies the allegations thereof.

             3 121. Referrng to paragraph 121, DreamWorks denies the allegations thereof,

            4 and specifically denies that Plaintiffs, or any of them, have sustained or are entitled to
             5 recover any damages whatsoever as a direct or proximate result of any alleged act or
             6 omission by Dream Works.

             7
             8 FIRST AFFIRMTIVE DEFENSE
             9 (Failure to State A Claim)
            10 122. DreamWorks. affirmatively alleges that the First Amended Complaint,
            11 and each purorted cause of action therein, fails to state a claim upon which relief may
            12 be granted.
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                                                           SECOND AFFIRMTIVE DEFENSE
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.v j oiot,.
                                                                                     (Standing)
~lí ~H
            16                 123. DreamWorks affirmatively alleges that some or all of                      the Plaintiffs lack

            17      standing to assert the claims for relief purortedly alleged in the First Amended
            18      Complaint.
            19
            20 TIDRD AFFIRMTIVE DEFENSE
            21 (Waiver, Estoppel and Laches)
            22 124. Dream Works affiatively alleges that the First Amended Complaint,

            23 and each purorted claim for relief therein, is barred in whole or in par by the
            24 doctrnes of               waiver, estoppel and/or laches.
            25
            26 FOURTH AFFIRMATIV DEFENSE
            27 (Fair Use)
            28 125. Dream Works affirmtively alleges that if any elements of protectible
                                                                                           12
                                                                          ANSWER TO FIRST AMENDED COMPLAINT
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              1 expression contained in any of                            Plaintiffs' works were in any maner used or
              2 incorporated into the television series Las Vegas, which DreamWorks expressly
              3 denies, such use constitutes a fair use, and Plaintiffs are precluded from obtaining any

              4 relief            therefor.
              5

              6 FIFm AFFIRMATIV DEFENSE
              7 (Scenes A Faire)
              8 126. Dream Works affirmatively alleges that if any material, concepts or ideas
              9 contained in any of
                                                      Plaintiffs' works were in any maner used or incorporated into the
              10 television series Las Vegas, which DreamWorks expressly denies, Plaintiffs are
              11 precluded from obtaining any relief therefor because such material, concepts and/or
              12 ideas constitute unprotectible scenes a fair and/or stock scenes.
    t t13
    ~ rl =:
    .i - '"
                                                              sixm AFFIRMTIV DEFENSE
¡ Æ;l$
  i~ gll14
~i Hh5                                                                       (Established Facts)
~l n~
              16                    127. Dream Works affirmatively alleges that if any material, concepts or ideas
              17         contained in any of           Plaintiffs' works were in any maner used or incorporated into the
              18         television series Las Vegas, which DreamWorks expressly denies, Plaintiffs are
              19     precluded from obtaining any relief therefor because such material, concepts and/or
              20         ideas constitute unprotectible established facts.
              21
              22                                           SEVENTH AFFIRMTIVE DEFENSE
              23                                                               (Innocent Intent)

              24                     128. Dream Works affirmtively alleges that if any material, concepts or ideas
              25         contained in any of           Plaintiffs' works were in any manner used or incorporated into the

              26         television series Las Vegas, which DreamWorks expressly denies, Plaintiffs are
              27         precluded from obtaining any relief therefore, in whole or in par, because
              28         DreamWorks acted in good faith and without an intent to infrnge.
                                                                                         13
                                                                           ANSWER TO FIRST AMENDED COMPLAIN
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             1                                       EIGHm AFFIRTIV DEFENSE
             2 (Lack or Inadequacy of Consideration)
             3 129. DreamWorks affirmatively alleges that Plaintiffs are bared, in whole or
             4 in par, from obtaining any relief for breach of implied contract because the purported

             5 implied contract fails for lack or inadequacy of consideration.
             6
             7                                         NINTH AFFIRATIVE DEFENSE
              8                                       (Lack of Essential TermsN agueness)
             9             130. DreamWorks affirmatively alleges that Plaintiffs are bared, in whole or
             10   in par, from obtaining any relief for breach of implied contract because the purorted
             11   implied contract is too indefinite, vague, ambiguous and/or is missing essential ters.
             12
    t f13                                              TENTH AFFIRTIV DEFENSE
   11 . :i
 ~ ~ ~à
  - ~îq4                                                               (Lack of Novelty)
~i l::B
~ I H!15                   131. Dream Works affiratively alleges that Plaintiffs' claims are bared, in
~l ~H
             16   whole or in par, because their ideas were not novel and/or were already known to
             17   Dream Works.

             18
             19                                    ELEVENTH AFFIRMTIVE DEFENSE
             20                                                           (Preemption)
             21             132. DreamWorks affirmatively alleges that Plaintiffs' state law claims are
             22   preempted by the federal Copyrght Act.
             23
             24                                    'TWELFTH AFFIRMTIVE DEFENSE
             25                              (Failure to Mitigate Damages)
             26             133. DreamWorks affiratively alleges that Plaintiffs' claims are barred, in
             27   whole or in part, because Plaintiffs failed to mitigate or reasonably attempt to mitigate
             28   their alleged damages, if any, as required by law.
                                                                                 14
                                                                    ANSWER TO FIST AMENDED COMPLAI
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                1                                 THIRTEENTH AFFIRMTIVE DEFENSE
                2 (Independent Creation)
                3 134. DreamWorks affirmtively alleges that Plaintiffs' claims are bared, in
                4 whole or in par, because the television series Las Vegas, upon which each of
                5 Plaintiffs' claims is based, was conceived, created and developed independently of

                6 Plaintiffs, and without the use of any materials, concepts, ideas or wrtings allegedly

                7 submitted by Plaintiffs.
                8

                9                                                     PRAYER FOR RELIEF
            10      WHEREFORE, DreamWorks prays for judgment against Plaintiffs as follows:
            11                1. That Plaintiffs take nothing by their First Amended Complaint, and that

            12      either the First Amended Complaint should be dismissed with prejudice or judgment
      t i13         should be entered thereon in favor of Dream Works and against Plaintiffs;
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s: .';u",-                    2. For DreamWorks' costs of suit incured herein, including its attorneys'
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                    fees to the extent permtted by law; and
      " f'16
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                              3. For such other and further relief as the Cour deems just and proper.

            17
                                                                               KATTEN MUCHIN ROSENMAN LLP
            18 Dated: August 27,2008
                                                                               GAIL MIGDAL TITLE
            19                                                                 DAVID HALBERSTADTER
                                                                                TIFFAN J. HOFELDT
            20
            21
                                                                                By
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                                                                      ANSWER TO FIRST AMENDED COMPLAINT
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           1                                                  DEMA FOR JURY TRIAL
           2 Defendant DREAMWORKS LLC respectfully demands a trial by jury pursuant
           3 to Rule 38 of             the Federal Rules of             Civil Procedure on any and all issues for which
           4 they are entitled to a tral by jur.
           5
                 Dated: August 27, 2008                                       KATTEN MUCHIN ROSENMAN LLP
           6
                                                                              GAI MIGDAL TITLE
           7                                                                  DAVID HALBERSTADTER
                                                                              TIFFAN J. HOFELDT
            8

            9
                                                                              By
           10
           11

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